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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                     CASE NO. 24-61952-CIV-DIMITROULEAS

  GARFIELD SPENCE,

         Plaintiff,

  vs.

  SVS WESTON LLC,

        Defendant.
  ___________________________________/


                      ORDER APPROVING VOLUNTARY DISMISSAL

         THIS CAUSE is before the Court upon the Notice of Dismissal With Prejudice (the

  “Notice”) [DE 12], filed herein on November 26, 2024. The Court has carefully reviewed the

  Notice and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1. The Notice [DE 12] is hereby APPROVED.

         2. This case is DISMISSED WITHOUT PREJUDICE.

         3. The Clerk is directed to DENY any pending motions as moot and CLOSE this case.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 27th day of November, 2024.




  Copies to:
  Counsel of Record
